            Case 8:21-cv-01246-DOC-ADS Document 47 Filed 07/22/21 Page 1 of 5 Page ID #:323
                                                                                                             ADR,JURY
                                       U.S. District Court
                             Northern District of Texas (Fort Worth)
                        CIVIL DOCKET FOR CASE #: 4:20−cv−00708−BJ

Green v. Ox Car Care, Inc.                                                Date Filed: 07/10/2020
Assigned to: Magistrate Judge Jeffrey L. Cureton                          Jury Demand: Plaintiff
Cause: 47:227 Restrictions of Use of Telephone Equipment                  Nature of Suit: 485 Telephone Consumer
                                                                          Protection Act (TCPA)
                                                                          Jurisdiction: Federal Question
Plaintiff
Jennifer Green                                             represented by Amy Lynn Bennecoff Ginsburg
                                                                          Kimmel & Silverman PC
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                                                                          LEAD ATTORNEY
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V.
Defendant
Ox Car Care, Inc.                                          represented by Darin M Klemchuk
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          Case 8:21-cv-01246-DOC-ADS Document 47 Filed 07/22/21 Page 2 of 5 Page ID #:324
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Defendant
VSC Media Group, LLC
TERMINATED: 07/19/2021


 Date Filed     #   Docket Text

 07/10/2020    Ï1   COMPLAINT WITH JURY DEMAND against Ox Car Care, Inc. filed by Jennifer Green. (Filing
                    fee $400; Receipt number 0539−10983961) Clerk to issue summons(es). In each Notice of
                    Electronic Filing, the judge assignment is indicated, and a link to the Judges Copy Requirements
                    and Judge Specific Requirements is provided. The court reminds the filer that any required copy of
                    this and future documents must be delivered to the judge, in the manner prescribed, within three
                    business days of filing. Unless exempted, attorneys who are not admitted to practice in the Northern
                    District of Texas must seek admission promptly. Forms, instructions, and exemption information
                    may be found at www.txnd.uscourts.gov, or by clicking here: Attorney Information − Bar
                    Membership. If admission requirements are not satisfied within 21 days, the clerk will notify the
                    presiding judge. (Attachments: # 1 Cover Sheet) (Ginsburg, Amy) (Entered: 07/10/2020)

 07/10/2020    Ï2   CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by Jennifer Green.
                    (Ginsburg, Amy) (Entered: 07/10/2020)

 07/10/2020    Ï3   New Case Notes: A filing fee has been paid. File to: Judge O Connor. Pursuant to Misc. Order 6,
                    Plaintiff is provided the Notice of Right to Consent to Proceed Before A U.S. Magistrate Judge.
                    Clerk to provide copy to plaintiff if not received electronically. Attorneys are further reminded that,
                    if necessary, they must comply with Local Rule 83.10(a) within 14 days or risk the possible
                    dismissal of this case without prejudice or without further notice. (wxc) (Entered: 07/13/2020)

 07/13/2020    Ï4   Summons Issued as to Ox Car Care, Inc.. (wxc) (Entered: 07/13/2020)

 08/27/2020    Ï5   MOTION to Proceed Without Local Counsel filed by Jennifer Green (Attachments: # 1 Proposed
                    Order) (Ginsburg, Amy) (Entered: 08/27/2020)

 08/28/2020    Ï6   ORDER granting 5 ... Before the Court is Plaintiff Jennifer Greens Motion for Leave to Proceed
                    Without Local Counsel (ECF No. 5), filed August 27, 2020. Having reviewed the motion, the Court
                    finds that it should be and is hereby GRANTED. (Ordered by Judge Reed C. O'Connor on
                    8/28/2020) (wxc) (Entered: 08/28/2020)

 11/12/2020    Ï7   ORDER: The Court ORDERS Plaintiff to provide proof of service in accordance with Rule 4 on or
                    before November 16, 2020. (Ordered by Judge Reed C. O'Connor on 11/12/2020) (pef) (Entered:
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                    11/12/2020)

11/13/2020    Ï8    SUMMONS Returned Executed as to Ox Car Care, Inc. ; served on 11/5/2020. (Ginsburg, Amy)
                    (Entered: 11/13/2020)

12/02/2020    Ï9    ORDER: The Court DIRECTS Plaintiff to move for entry of default and default judgment against
                    Defendant on or before December 9, 2020. (Ordered by Judge Reed C. O'Connor on 12/2/2020)
                    (bdb) (Entered: 12/03/2020)

12/09/2020   Ï 10   MOTION to Extend Time to move for default filed by Jennifer Green (Attachments: # 1
                    Declaration(s) (certification of Amy L.B. Ginsburg), # 2 Certificate of conference, # 3 Proposed
                    Order) (Ginsburg, Amy) (Entered: 12/09/2020)

12/10/2020   Ï 11   ORDER granting 10 Having considered the Motion, the Court finds that it should be and is hereby
                    GRANTED. The Court EXTENDS the deadline for Plaintiff to move for entry of default to
                    December 16, 2020. The Court DIRECTS Defendant to file its answer or responsive pleading on or
                    before December 15, 2020. (Ordered by Judge Reed C. O'Connor on 12/10/2020) (wxc) (Entered:
                    12/10/2020)

12/16/2020   Ï 12   Request for Clerk to issue Default Against Ox Car Care filed by Jennifer Green. (Attachments: # 1
                    Affidavit(s)) (Ginsburg, Amy) (Entered: 12/16/2020)

12/16/2020   Ï 13   MOTION for Default Judgment against Ox Car Care, Inc. filed by Jennifer Green (Attachments: # 1
                    Proposed Order) (Ginsburg, Amy) (Entered: 12/16/2020)

12/16/2020   Ï 14   Brief/Memorandum in Support filed by Jennifer Green re 13 MOTION for Default Judgment
                    against Ox Car Care, Inc. (Attachments: # 1 Affidavit(s) of Plaintiff) (Ginsburg, Amy) (Entered:
                    12/16/2020)

12/18/2020   Ï 15   *** VACATED PER ORDER 20 *** Clerk's ENTRY OF DEFAULT as to Ox Car Care, Inc. (wxc)
                    Modified on 12/23/2020 (wxc). (Entered: 12/18/2020)

12/21/2020   Ï 16   Designation of lead counsel Darin M Klemchuk for Defendant Ox Car Care, Inc.. (Klemchuk,
                    Darin) (Entered: 12/21/2020)

12/21/2020   Ï 17   NOTICE of Attorney Appearance by Christian Joseph Cowart on behalf of Ox Car Care, Inc.. (Filer
                    confirms contact info in ECF is current.) (Cowart, Christian) (Entered: 12/21/2020)

12/21/2020   Ï 18   NOTICE of Attorney Appearance by Mandi M Phillips on behalf of Ox Car Care, Inc.. (Filer
                    confirms contact info in ECF is current.) (Phillips, Mandi) (Entered: 12/21/2020)

12/21/2020   Ï 19   Joint MOTION to Withdraw 13 MOTION for Default Judgment against Ox Car Care, Inc. (),
                    MOTION to Set Aside 15 Clerk's Entry of Default , Motion for Extension of Time to File Answer
                    filed by Ox Car Care, Inc. (Attachments: # 1 Proposed Order) (Klemchuk, Darin) (Entered:
                    12/21/2020)

12/23/2020   Ï 20   ORDER...Before the Court is the parties Joint Agreed Motion to (1) Withdraw Plaintiffs Motion for
                    Entry of Default Judgment, (2) Extend Time to File a Responsive Pleading, and (3) Set Aside the
                    Entry of Default (ECF No. 19), filed December 21, 2020. Having considered the motions, briefing,
                    and applicable law, the Court VACATES the Clerks Entry of Default (ECF No. 15 ), DENIES as
                    moot Plaintiffs Motion for Default Judgment (ECF No. 13 14 ), and GRANTS Defendants Motion
                    for Leave (ECF No. 19 ). (Ordered by Judge Reed C. O'Connor on 12/23/2020) (wxc) (Entered:
                    12/23/2020)

12/30/2020   Ï 21   ANSWER to 1 Complaint,,,, filed by Ox Car Care, Inc.. Unless exempted, attorneys who are not
                    admitted to practice in the Northern District of Texas must seek admission promptly. Forms and
                    Instructions found at www.txnd.uscourts.gov, or by clicking here: Attorney Information − Bar
                    Membership. If admission requirements are not satisfied within 21 days, the clerk will notify the
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                    presiding judge. Attorneys are further reminded that, if necessary, they must comply with Local
                    Rule 83.10(a) within 14 days or risk the possible dismissal of this case without prejudice or without
                    further notice. (Klemchuk, Darin) (Entered: 12/30/2020)

12/30/2020   Ï 22   CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by Ox Car Care,
                    Inc.. (Klemchuk, Darin) (Entered: 12/30/2020)

12/31/2020   Ï 23   ORDER REQUIRING SCHEDULING CONFERENCE AND REPORT FOR CONTENTS OF
                    SCHEDULING ORDER: The Joint Report shall be filed on or before 1/28/2021. (see order)
                    (Ordered by Judge Reed C. O'Connor on 12/31/2020) (tln) (Entered: 12/31/2020)

01/28/2021   Ï 24   Proposal for contents of scheduling and discovery order by Jennifer Green. (Ginsburg, Amy)
                    (Entered: 01/28/2021)

01/28/2021   Ï 25   ORDER...it is ORDERED that this matter be transferred to United States Magistrate Judge Cureton
                    to conduct all further proceedings and enter judgment pursuant to 28 U.S.C. § 636(c). Case
                    reassigned to Magistrate Judge Jeffrey L. Cureton for all further proceedings. Judge Reed C.
                    O'Connor no longer assigned to case. (Ordered by Judge Reed C. O'Connor on 1/28/2021) (wxc)
                    (Entered: 01/28/2021)

02/01/2021   Ï 26   ORDER FOR REVISED JOINT STATUS REPORT AND MODIFIED INSTRUCTIONS FOR
                    ELECTRONIC CASE FILING (ECF)...it is ORDERED that within twenty−one (21) days of the
                    date of this Order the parties file a Revised Joint Status Report. (Ordered by Magistrate Judge
                    Jeffrey L. Cureton on 2/1/2021) (wxc) (Entered: 02/01/2021)

02/22/2021   Ï 27   Proposal for contents of scheduling and discovery order Revised Joint Case Management Plan &
                    Rule 26(f) Report by Ox Car Care, Inc.. (Klemchuk, Darin) (Entered: 02/22/2021)

03/01/2021   Ï 28   SCHEDULING ORDER: Discovery due by 12/3/2021. Motions due by 12/17/2021. Amended
                    Pleadings due by 4/7/2021. Pretrial Conference set for 3/24/2022 09:30 AM before Magistrate
                    Judge Jeffrey L. Cureton. Joinder of Parties due by 3/8/2021. Jury Trial set for 4/18/2022 10:00 AM
                    before Magistrate Judge Jeffrey L. Cureton. (Ordered by Magistrate Judge Jeffrey L. Cureton on
                    3/1/2021) (wxc) (Entered: 03/01/2021)

03/01/2021   Ï 29   MEDIATION ORDER. The parties are to select or designate a mediator. The parties are to
                    complete mediation during the month of November. Alternative Dispute Resolution Summary form
                    provided electronically or by US Mail as appropriate. Deadline for parties to designate a mediator is
                    on or before 9/1/2021. (Ordered by Magistrate Judge Jeffrey L. Cureton on 3/1/2021) (wxc)
                    (Entered: 03/01/2021)

04/15/2021   Ï 30   MOTION to Dismiss for Lack of Personal Jurisdiction filed by Ox Car Care, Inc. (Cowart,
                    Christian) (Entered: 04/15/2021)

04/15/2021   Ï 31   Brief/Memorandum in Support filed by Ox Car Care, Inc. re 30 MOTION to Dismiss for Lack of
                    Personal Jurisdiction (Cowart, Christian) (Entered: 04/15/2021)

04/15/2021   Ï 32   Appendix in Support filed by Ox Car Care, Inc. re 30 MOTION to Dismiss for Lack of Personal
                    Jurisdiction (Attachments: # 1 Exhibit(s) A − Declaration of Mike Mardaresco, # 2 Exhibit(s) B −
                    Declaration of Christian Cowart) (Cowart, Christian) (Entered: 04/15/2021)

05/06/2021   Ï 33   AMENDED COMPLAINT WITH JURY DEMAND against Ox Car Care, Inc., VSC Media Group,
                    LLC filed by Jennifer Green. Clerk to issue summons(es). Unless exempted, attorneys who are not
                    admitted to practice in the Northern District of Texas must seek admission promptly. Forms,
                    instructions, and exemption information may be found at www.txnd.uscourts.gov, or by clicking
                    here: Attorney Information − Bar Membership. If admission requirements are not satisfied within
                    21 days, the clerk will notify the presiding judge. (Ginsburg, Amy) (Entered: 05/06/2021)

05/07/2021   Ï 34   Summons Issued as to VSC Media Group, LLC. (wxc) (Entered: 05/07/2021)
        Case 8:21-cv-01246-DOC-ADS Document 47 Filed 07/22/21 Page 5 of 5 Page ID #:327
05/18/2021   Ï 35   ORDER DENYING AS MOOT DEFENDANT OX CAR CARE, INC'SMOTION TO DISMISS
                    FOR LACK OF PERSONAL JURISDICTION 30 ... Based on the foregoing, it is ORDERED that
                    Defendant Ox Car Car Inc.' s Motion to Dismiss for Lack of Personal Jurisdiction [ doc. 30] is
                    DENIED AS MOOT without prejudice. (Ordered by Magistrate Judge Jeffrey L. Cureton on
                    5/18/2021) (wxc) (Entered: 05/18/2021)

05/20/2021   Ï 36   Unopposed MOTION to Extend Time to Answer or Otherwise Respond to Plaintiff's Amended
                    Complaint and to Partially Modify the Scheduling Order filed by Ox Car Care, Inc. (Attachments: #
                    1 Proposed Order) (Cowart, Christian) (Entered: 05/20/2021)

05/24/2021   Ï 37   ORDER GRANTING DEFENDANT'S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                    ANSWER OR OTHERWISE RESPOND TO PLAINTIFF'S AMENDED COMPLAINT AND TO
                    PARTIALLY MODIFY THE SCHEDULING ORDER 36 ..Good cause appearing, IT IS HEREBY
                    ORDERED that Defendant's Unopposed Motion for Extension of Time to Answer or Othewise
                    Respond to Plaintiff's Amended Complaint and to Partially Modify the Scheduling Order is
                    GRANTED. The deadline for Defendant Ox Car Care, Inc. to answer, move, or otherwise respond
                    to the Amended Complaint [ECF No. 33 ] is hereby extended to May 27, 2021. Paragraph 8 of the
                    Court's Scheduling Order [ECF No. 28 ] is modified to ORDER that the parties file all pretrial
                    motions regarding jurisdiction, if any, no later than May 27, 2021. (Ordered by Magistrate Judge
                    Jeffrey L. Cureton on 5/24/2021) (wxc) (Entered: 05/24/2021)

05/27/2021   Ï 38   MOTION to Dismiss for Lack of Jurisdiction filed by Ox Car Care, Inc. (Cowart, Christian)
                    (Entered: 05/27/2021)

05/27/2021   Ï 39   Brief/Memorandum in Support filed by Ox Car Care, Inc. re 38 MOTION to Dismiss for Lack of
                    Jurisdiction (Cowart, Christian) (Entered: 05/27/2021)

05/27/2021   Ï 40   Appendix in Support filed by Ox Car Care, Inc. re 38 MOTION to Dismiss for Lack of Jurisdiction
                    (Cowart, Christian) (Entered: 05/27/2021)

06/01/2021   Ï 41   SUMMONS Returned Executed as to VSC Media Group, LLC ; served on 5/12/2021. (Ginsburg,
                    Amy) (Entered: 06/01/2021)

06/17/2021   Ï 42   RESPONSE filed by Jennifer Green re: 38 MOTION to Dismiss for Lack of Jurisdiction
                    (Attachments: # 1 Exhibit(s) A, # 2 Exhibit(s) B) (Ginsburg, Amy) (Entered: 06/17/2021)

06/28/2021   Ï 43   REPLY filed by Ox Car Care, Inc. re: 38 MOTION to Dismiss for Lack of Jurisdiction (Cowart,
                    Christian) (Entered: 06/28/2021)

07/06/2021   Ï 44   NOTICE of Dismissal Notice of Voluntary Dismissal as to VSC Media Group, LLC filed by Jennifer
                    Green (Ginsburg, Amy) (Entered: 07/06/2021)

07/19/2021   Ï 45   RULE 54(b) FINAL JUDGMENT... In accordance with Plaintiffs Notice of Dismissal as to
                    Defendant VSC Media Group, LLC Only filed on July 6, 2021 and Federal Rule of Civil Procedure
                    54(b), Finding no just reason for delay, it is hereby ORDERED, ADJUDGED, and DECREED that
                    all claims asserted against Defendant VSC Media Group, LLC in the above−styled and numbered
                    cause are DISMISSED WITHOUT PREJUDICE. All costs under 28 U.S.C. § 1920 shall be taxed
                    against the party that incurred them. (Ordered by Magistrate Judge Jeffrey L. Cureton on 7/19/2021)
                    (wxc) (Main Document 45 replaced with OCR doc on 7/20/2021) (ali). (Entered: 07/19/2021)

07/22/2021   Ï 46   ORDER PARTIALLY GRANTING DEFENDANT OX CAR CARE, INC.'S MOTION TO
                    DISMISS AMENDED COMPLAINT FOR LACK OF PERSONAL JURISDICTION AND
                    TRANSFERRING CASE... Case transferred to Southern Division Division of Central District of
                    California. (Ordered by Magistrate Judge Jeffrey L. Cureton on 7/22/2021) (wxc) (Entered:
                    07/22/2021)
